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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
 !
 UNITED STATES OF AMERICA,
 !
          Plaintiff,
 !
 -vs-                                               Case No. 15-20652
                                                    Hon. George Caram Steeh
 !
 ARLANDIS SHY, II (D-13)
 !
              Defendant.
 __________________________________________________________________
 MARK H. MAGDISON (P25581)
 Attorney for the Defendant
 615 Griswold, Ste. 810
 Detroit, MI 48226
 313-963-4311
 __________________________________________________________________
 !
 !
           DEFENDANT ARLANDIS SHY’S NOTICE OF JOINDER
        IN DOCKET ENTRIES 243, 244, 245, 246, 247, 248, 249, AND 250
 !
 !
        Defendant Arlandis Shy, II (D-13), joins in the following Motions filed by

 co-defendant Quincy Graham (D-5):

 1. Motion for Bill of Particulars (Doc. 243, 7/19/16).

 2. Motion to Produce all Co-Defendants’ Statements that the Government Intends

     Offering in Evidence (Doc. 244, 7/19/16).

 3. Motion for Early Production of Jencks Material (18 USC 3500) (Doc. 245,

     7/19/16).

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 4. Motion for Pretrial Disclosure of all Evidence which the Government Intends to

     Offer pursuant to Rule 404(b) of the Federal Rules of Evidence (Doc. 246,

     7/19/16).

 5. Motion for Order for Disclosure of Expert Witness Testimony (Doc. 247,

     7/19/16).

 6. Motion for Government Agents and Law Enforcement Officers to Retain Rough

     Notes for Production Prior to Trial (Doc. 248, 7/19/16).

 7. Motion for Witness List (Doc. 249, 7/19/16).

 8. Motion to Reveal Identity of Informants and Contents of Deals (Doc. 250,

     7/19/16).

 !
        WHEREFORE, Defendant respectfully requests that this Honorable Court

 accept his concurrence as to the relief requested in the above motions.

 Date: August 19, 2016                  Respectfully submitted,
 !
                                        By: s/Mark H. Magidson
                                        MARK H. MAGIDSON (P25581)
                                        Attorney for Defendant Melcher
                                        815 Griswold, Suite 810
                                        Detroit, MI 48226
                                        313-963-4311
                                        313-961-6077 fax
                                        mmag100@aol.com
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                                          !
                                          !
                            CERTIFICATE OF SERVICE

       I certify that on August 19, 2016, I electronically filed the NOTICE OF

 JOINDER IN DOCKET ENTRIES 243, 244, 245, 246, 247, 248, 249, AND 250

 with the Clerk of the Court using the ECF system, which will send notification of

 such filing to the parties of record.


 !
                                              By: s/Mark H. Magidson
                                                MARK H. MAGIDSON (P25581)
                                                Attorney for Defendant Melcher
                                                615 Griswold, Ste. 810
                                                Detroit, MI 48226
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